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                                                                          B
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Closing Disclosure
Closing Information                                         Transaction Information
Date Issued                                                 Borrower Joella M. Grossoehme
Closing Date            5-25-18                                          10603 Hinterland Dr.
Disbursement Date       5-25-18                                          Fishers, IN 46038
Settlement Agent        Ryan J. Mahoney                     Seller       Iowa’s First, Inc.
File #                  4112.000                                         401 Des Moines St.
Property                1507 Willson Ave.                                Webster City, IA 50595
                        Webster City, IA 50595
Sale Price              232,000




Summaries of Transactions                                                              Contact Information
SELLER’S TRANSACTION                                                                   REAL ESTATE BROKER (B)
M. Due to Seller at Closing                                          $232,000.00
                                                                                       Name                                Abens Realty
01 Sale Price of Property                                            $232,000.00
                                                                                       Address                             1988 Superior St.
02 Sale Price of Any Personal Property Included in Sale
03                                                                                                                         Webster City, IA 50595
04                                                                                     __License ID                        F05703000
05                                                                                     Contact                             Tyler Abens
06
                                                                                       Contact __License ID                B43670000
07
                                                                                       Email
08
Adjustments for Items Paid by Seller in Advance                                        Phone                               515-297-0755
09 City/Town Taxes                       to                              $ 0.00        REAL ESTATE BROKER (S)
10 County Taxes                          to                              $ 0.00
                                                                                       Name                                Neighborhood Realty
11 Assessments                           to                              $ 0.00
                                                                                       Address                             711 2nd St.
12                                       to                              $ 0.00
13                                                                                                                         Webster City, IA 50595
14                                                                                     __License ID                        T05081000
15                                                                                     Contact                             Stacy Wearda
16
                                                                                       Contact __License ID                B44605000
N. Due from Seller at Closing                                        $189,185.31
01 Excess Deposit
                                                                                       Email
02 Closing Costs Paid at Closing (J)                                  $15,019.90       Phone
03 Existing Loan(s) Assumed or Taken Subject to                                        SETTLEMENT AGENT
04 Payoff of First Mortgage Loan to First State Bank                  165,152.79       Name                                Ryan J. Mahoney
05 Payoff of Second Mortgage Loan to Broadmoor Financial                4,757.19
                                                                                       Address                             615 Story St.
06 Mortgage Payoff fee to USPS                                             24.70
07 Recording Fee for Release                                               10.00
                                                                                                                           Boone, IA 50036
08 Seller Credit                                                         $ 0.00        __License ID                        ITG3731
09                                                                                     Contact                             Ryan J. Mahoney
10                                                                                     Contact __License ID                AT4948
11
                                                                                       Email                               ryan@jordanmahoney.com
12
13                                                                                     Phone                               515-432-4510
Adjustments for Items Unpaid by Seller
14 City/Town Taxes                       to                             $ 0.00
15 County Taxes               7-1-17     to       5-25-18               4220.73
16 Assessments                           to                             $ 0.00                        Questions? If you have questions about the



                                                                                         ?
17                                       to                             $ 0.00                        loan terms or costs on this form, use the contact
18                                                                                                    information below. To get more information
19                                                                                                    or make a complaint, contact the Consumer
                                                                                                      Financial Protection Bureau at
CALCULATION
                                                                                                      www.consumerfinance.gov/mortgage-closing
Total Due to Seller at Closing (M)                                 $232,000.00
Total Due from Seller at Closing (N)                             ($189,185.31)
Cash         From X To Seller                                         $42,814.69




CLOSING DISCLOSURE                                                                                     PAGE 1 OF 2 ● LOAN ID #
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Closing Cost Details
                                                                                                             Seller-Paid
Loan Costs                                                                                      At Closing            Before Closing
A.   Origination Charges
01   .147% of Loan Amount (Points)
02   Processing fee
03
04
05
06
07
08
B.   Services Borrower Did Not Shop For
01   Appraisal Fee
02   Credit Report Fee
03   Flood Certification fee
04   UP front MIP
05
06
07
08
09
10
C.   Services Borrower Did Shop For
01   Abstracting to Hamilton County Abstracting Services                                                320.00
02   Courier Fees to USPS
03   Lender’s insurance to Iowa Title Guaranty
04   Settlement fee to Jordan & Mahoney Law Firm, P.C.
05   Title Examination to Jordan & Mahoney Law Firm, P.C.
06
07
08



Other Costs
E.   Taxes and Other Government Fees
01   Recording Fees                  Deed: 17.00            Mortgage:     82.00
02   Transfer Tax     to: Hamilton County Recorder                                                      370.40
F.   Prepaids
01   Homeowner’s Insurance Premium ( mo.) to:
02   Mortgage Insurance Premium ( mo.) to:
03   Prepaid Interest                  per day from                  to
04   Property Taxes ( mo.) to:
05
G.   Initial Escrow Payment at Closing
01   Homeowner’s Insurance                        per month for              mo.
02   Mortgage Insurance                           per month for              mo.
03   Property Taxes                               per month for              mo.
04                                                per month for              mo.
05                                                per month for              mo.
06                                                per month for              mo.
07
08   Aggregate Adjustment
H.   Other
01   Real Estate Commission              6960.00 to: Neighborhood Realty                             $6,960.00
02   Real Estate Commission              6960.00 to: Abens Realty                                    $6,960.00
03
04   Deed Prep to Malloy Law Firm, LLP                                                                  409.50
05   Attorney Fees for POA preparation
06   Recording Fees for Power of Attorney to Hamilton Co. Recorder
07
08
09
10
11



J. TOTAL CLOSING CLOSTS                                                                             $15,019.90                  $ 0.00




CLOSING DISCLOSURE                                                                 PAGE 2 OF 2 ● LOAN ID #
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                                                                  CERTIFICATION
I have carefully reviewed this Closing Disclosure and to the best of my knowledge and belief, it is a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction. I further certify that I have received a copy of the Closing Disclosure form.



                                                             Seller
                        Iowa’s First, Inc.




To the best of my knowledge the Closing Disclosure which I have prepared is true and accurate account of the funds which were received and
have been or will be disbursed by the undersigned as part of the settlement of this transaction.


                                                      Settlement Agent                                                      Date
                    Ryan J. Mahoney

WARNING: It is a crime to knowingly make false statements to the United States on this or any other similar form. Penalties upon conviction can
include a fine and imprisonment. For details see: Title 18 U.S. Code Section 1001 and Section 1010.




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